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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
HAMPTON DELLINGER                   )
in his personal capacity and        )
in his official capacity as         )
Special Counsel of the              )
Office of Special Counsel,          )
                                    )
                        Plaintiff,  )
                                    )                 Civil Action No. 25-0385 (ABJ)
        v.                          )
                                    )
SCOTT BESSENT                       )
in his official capacity as         )
Secretary of the Treasury, et al.,  )
                                    )
                        Defendants. )
____________________________________)

                                             ORDER

       Pursuant to Federal Rule of Civil Procedure 56 and 58 and for the reasons stated in the
accompanying Memorandum Opinion [Dkt. # 32], it is hereby ORDERED that plaintiff’s motion
for summary judgment and motion for a permanent injunction [Dkt. # 23] is GRANTED, and the
Court hereby enters judgment in favor of plaintiff on Count One. Defendants’ motion for summary
judgment [Dkt. # 22] is DENIED.

       Furthermore, for the reasons set forth in the Memorandum Opinion:

       It is DECLARED that plaintiff Hampton Dellinger is the Special Counsel of the Office of
Special Counsel, having been appointed by the President and confirmed by the United States
Senate on February 27, 2024.

       It is further DECLARED that the February 7, 2025 email from the Assistant to the
President, Director of Presidential Personnel Office, The White House, announcing plaintiff’s
termination was an unlawful, ultra vires act in violation of 5 U.S.C. §1211(b). Therefore, it is null
and void, and plaintiff is and shall be the Special Counsel of the Office of Special Counsel for the
remainder of his five-year term unless and until he is removed in accordance with 5 U.S.C.
§1211(b).




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      It is further DECLARED that any recognition of an Acting Special Counsel in his place is
unlawful.

       In accordance with this declaratory judgment, it is hereby ORDERED that defendants
Secretary Scott Bessent, Director Sergio Gor, Principal Deputy Special Counsel Karen Gorman,
Chief Operating Officer Karl Kammann, and Director Russell Vought are ENJOINED as follows:

        As of the date of this order, March 1, 2025, through the expiration of plaintiff’s five-year
term as Special Counsel, defendants Bessent, Gor, Gorman, Kammann, and Vought must
recognize plaintiff’s title and position as Special Counsel of the Office of Special Counsel; they
must not obstruct or interfere with his performance of his duties; they must not deny him the
authority, benefits, or resources of his office; they must not recognize any Acting Special Counsel
in his place; and they must not treat him in any way as if he has been removed, or recognize any
other person as Special Counsel or as the head of the Office of Special Counsel, unless and until
he is removed from office in accordance with 5 U.S.C. §1211(b).

       Given the entry of judgment, the Temporary Restraining Order issued on February 12,
2025 [Dkt. # 14] and extended on February 26 [Dkt. # 27] until today is hereby VACATED.

       This is a final appealable order.

       SO ORDERED.



                                                     AMY BERMAN JACKSON
                                                     United States District Judge
DATE: March 1, 2025.




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